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                                   N o.




                      UNITED STATESCOURTSOFAPPEM S
                           FOR Tl'
                                 IE ELEW N TH CIRCU IT

                         IN RE:JOIIN AN TH OW       CA STRO,

                                               Petitioner




                 On Petition fora W dtofM andam usto the United States
                       CourtofAppealsfortheEleventh Circuit


                     PETITION FO R W RIT O F M AN DA M US




                                                  John A nfhony Castro,Pro Se
                                                  J.castro@ lolmcastro.com
                                                  12 Park Place
                                                  M ansfield,Texas76063
                                                  Tel:(202)594-4344




                                                                                     u
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                         PETITIO N FOR W RIT O F M AND AM U S


                                     RELIEF SUUGH T
            Pursuantto 28 U .S.C.j 1651 and FederalRule ofAppellate Procedure 21,
      Jolm Anthony Castro respectfully petitionsthisCourtto issue aW ritofM andnm us,

      in aid ofits appellatejurisdiction,directing United StatesDistrictV dgeAileen
      M ercedes Carm on to disqualify herselfon the basis thather impartiality has both

      already been reasonably questioned by the general public and continues to be

      reasonably questionedinthenow pending case:JohnAnthony Castro,Plaint? v.
      Donaldl Trump,Defendant,No.23-80015-C1V-CANNON.

                                    ISSU E PR ESEN TED

            ln light of w idespread and reasonable public questioning of U nited States

      DistrictJudgeA ileen M ercedesCannon'sim partiality with regard to casesinvolving

      DonaldJ.Trum p by fully inform ed lay individuals,legalscholars,andm ediaoutlets,

      did U nited States DistrictJudge A ileen M ercedes Cannon abuse her discretion in

      failing to disqualify herselfin this case involving Donald J.Tnlm p?


                                 STA TEM ENT OF FA CTS

            Jolm Anthony Castro is an FEc-registered 2024 Republican Presidential

      candidate currently and actively seeking the nom ination ofthe Republican Party to
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    î           o                         '
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        #                                                    .



                    pursue the Presidency ofthe United States. Jolm Anthony Castro brought a civil

                    action against D onald J.Tw m p under the D eclaratory ReliefA ct to tGdeclare the

                    rights and other legalrelations''of John Anthony Castro and D onald J.Trum p,

                    including whetherD onald J.Trum p's actions and public statem ents with regard to

                    the January 6,2021,attack on the United States Capitoland those involved in the

                    attack disqualiies D onald J.Trum p 9om pursuing and/orholding public office in

                    theUnited StatespursuanttoSection3ofthe14thAmenlmenttotheUnited States
                    Constitution.                                                                            '

                          U nited States D istrict Judge Aileen M ercedes Carmon w as ttrandom ly''
            .
                                                                  r:
                    assigned to the case. Judgé Cmm on'sfirstofficlalactw asto sua sponte dism issthe

                    complaint purportedly pursuant to the Shotgun Pleading Rule despite its dubious

                    applicationtotheOriginalComplaint.N evertheless,Jolm A nthony Castro com plied

                    and filed hisFirstAm ended Com plaint.

                          Second, Judge Cnnnon denied Jolm A nthony Castro access to the district

                    court's Case M anagem ent and Electronic Filing System with a paperless order;

'                   dembnstrating a complete dereliction ofjudicialduty to intellecmally explain a
                    rationallegalbasisforherdecision. This is the topic ofa separate and earlierfiled    '

                    W ritofM andnm usforinginging on Jolm Anthony Castro'sFirstAm endm entright

                    to efficiently petitionthefederaljudiciary toredresshisgrievances.
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            Third, Judge Cnnnon denied Jolm A nthony Castro's m otion to disqualify

      herselfdespite bindipg case1aw in theEleventh Circuit;dem onstrating hercom plete

      lack ofregardforthisHonorableCourtofAppeals'bindingjurisprudence.
            Fourth,Judge Calm on denied Jolm A nthony Castro's m otion to certify for

      interlocutory appealher order denying recusalwith a paperless order;once again

      demonstrating a complete dereliction ofjudicialduty to intellectually explain a
      rationallegalbasis forherdecision.

            In hisw ell-drafted m otion to disqualify Judge Cannon,Jolm A nthony Castro

      cited thatnoton% wtu itthe case thather tcimpartiality mightreasonably be
      questioned''but that her impartiality in a case involving D onald J.Trum p had

      already been questioned by the generalpublic. JudgeCannon'sabuse ofdiscretion

      to unconstitm ionally intervene in and obstructthe crim inalinvestigation ofD onald

      J.Trumpwasthetopicofnumerousethicsandjudicialcomplaints.

                   R EA SO N S W H Y TH E W R IT SH O U LD BE ISSUED


            The avoidance ofthe appearance ofpartiality isparam ountto preserving the

      integrity and independence of the federaljudiciary. The purported Cçrandom''
      assignmentofthiscasetoJudgeAileenM ercedesCannon hasalready been viewed
      assuspectby m em bersofthepublic,them edia,and legalscholars.
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            Based on the totality ofcircum stances,itis indisputable thatthere w ould be

      and,in fact,presently isan appearance ofim propriety and lack ofimpartiality.

            In accordancewith theEleventhCircuit'sownbindingjurisprudence,given
      the indisputable factthatm illions offully inform ed A m ericans already reasonably

      question and continue tp question Judge A ileen M ercedes Cannon's im partiality in

      cases involving D onald J.Trum p,her failure to disqualify herself is a clear and

      indisputable abuse ofdiscretion.


                                      C O NCLU SIO N

            Forthe reasons and authorities stated herein,Jolm A nthony Castro petitions

     thisCourtto issueaW ritofM andam usto com pelU nited StatesDistrictJudgeA ileen

     M ercedesCnnnon to disqualify herself9om thiscase and grantJohn A nthony Castro

     such otherand furtherreliefasthisH onorableAppealsCourtdeem sproper.




                                                  Respectfully subm itted,
      D ated:February 22,2023

                                                  By:
                                                    Jolm Anthony Castro,Pro Se
                                                      J.castpYlolmcastro.com
                                                      12 Park Place
                                                      M ansfield,Texas76063
                                                      Te1:(202)594-4344
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                           CERTIFICATE 0* COM PLM CE
             Ihereby certify thatthism otion com pliesw ith thetype volum e lim itation

      ofRule21(d)(i)oftheFederalRulesofAppellateProcedure.Asmeasuredbythe
      w ord processing system used to prepare thism otion,them otion contains804

      words,excluding thepat'tsofthemotion exemptedbyFed.R.App.P.32(a)(7)
      (B)(iii),andcomplieswiththetylestylerhequirementofFed.R.App.P.32(a)(6),
      because ithasbeen prepared in a 14 pointproportionally spaced rom an-style

      typeface(TimesNew Roman).


                                                 John Anthony Castro
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                             CER TIFICATE O F SER W C E

           1 hereby certify thaton February 22,2023,a true and accurate copy of the

      foregoingPetitionfora WritofMandamuswithaccompanyingExhibits(ifany)was
      served viaU .S.FirstClassM ailon the follow ing:

      Lindsey H alligan
      511 SE 5* A venue
      FortLauderdale,FL 33301
      A ttorney forD efendant

      Jacob F.Grubm an
      IFR M -ILA W ,PLLC
      1717 Pennsylvania Avenue,N W ,Suite 650
      W ashington,D C 20006


      Judge Aileen M .Carmon
      PaulG .R ogersFederalBuilding and U .S.Courthouse
      701 Clem atisSt.Rm 202
      W estPalm Beach FL 33401



                                                 John Anthony Castro
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                 U.S.COURT OF APPEALS FOR TIIE ELEVENTH CIRCUIT

                         CERTIFICATE OF INTERESTED PERSONS
                   AND CORPOM TE DISCLOSURE STATEM ENT (CIP)

       Jolm Anthony Casko        vy Donald J.Trump               AppealNo.
        t 1r. . .- a reqmresk eappe antorpetluonerto lleacertituateo ntereste ersons
      andCoporateDisclosureStatement(CIP)withthiscourtwithln 14daysafter
      the datethe caseorappealisdocketed in thiscourt,andto includea CIP within every
      motlon,petition,brief,answer,response,and reply filed.Also,allappellees,intervenors,
      respondents,and al1Qtherpartiesto thecase orappealm ust5leaCIP within 28 days
      afterthedatethecase orappealisdocketed in thiscourt.You m ay usethisform to
      fulfilltheserequirem ents. In alphabeticalorder,with onenam eperline,pleaselista1l
      trialjudges,attorneys,persons,associationsofpersons,firms,partnerships,or
      cop orationsthathavean interestin the outcom eofthiscaseorappeal,including
      subsidiaries,conglomerates,affiliates,parentcorporations,any publicly held corporation
      thatowns 10% ormore oftheparty'sstock,and otheridentifiablelegalentitiesrelated to
      a party.

      (please/.y#eorprint!eg/!@,
                               ):

      Cnnnon,AileenM .,JudgeforU.S.Diskid CourtSouthem DistrictofFlorida(W estPalm Beach)
      Grubman,Jacob F.,Attorney forD efendant
      Halligo Lindsey,Attom ey forDefendant

      Tnlinp,Donald J.,Defendant




                                                                                  Rev.:12/20
